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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

In re:
                                                            Chapter 11
YELLOW CORPORATION1, et al.,
                                                            Case No. 23-11069 (CTG)
          Debtors
                                                            (Jointly Administered)
                                                            RE: D.I. 1329, 1486, and 1489

 EMILY LOURO’S JOINDER TO OBJECTIONS TO THE MOTION OF DEBTORS TO
    ESTABLISH ALTERNATIVE DISPUTE RESOLUTION PROCEDURES FOR
  RESOLUTION OF CERTAIN LITIGATION CLAIMS AND FOR RELATED RELIEF

Emily Louro (“Louro”), hereby files this Joinder to the Objection of Aaron Misquez to the

Motion of Debtors to Establish Alternative Dispute Resolution Procedures for Resolution of

Certain Litigation Claims and for Related Relief [D.I. 1486] (the “Misquez Objection”) and

hereby joins in the additional objections and joinders filed by other similarly situated personal

injury plaintiffs, including the Joinder of Anne-Celeste Openshaw filed thereto [D.I. 1489] (the

“Openshaw Joinder”). In joining these objections, Louro incorporates the objections as its own

and reserves the right to fully participate in the hearing on these matters.

December 26, 2023                                             McCARTER & ENGLISH, LLP

                                                              /s/ Kate Buck
                                                              Kate Buck, Esq.
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                                                              Counsel to Emily Louro


1 A complete list of each of the Debtors in these chapter 11 cases may be obtaine d on the website of the Debtors’

claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place of
business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Ave, Overland Park, KS 66211.

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